      Case 2:22-cv-00220-NJB-DMD Document 12 Filed 06/23/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 ABRYANT WILLIAMS                                                    CIVIL ACTION
 VERSUS                                                              NO: 22-220
 AMANDA TROSCLAIR et al.                                             SECTION: “G”


                                             ORDER

       Before the Court is Plaintiff Abryant Williams’ (“Plaintiff”) Motion for Extension of Time

to Serve Defendant. 1 This case was filed on January 31, 2022. 2 To date, Defendants Amanda

Trosclair, Mary Strahan, Robert Trahan, Kendra Davis, Department of Children and Family

Services, and the State of Louisiana, have not been served. On May 25, 2022, the Court ordered

Plaintiff to show cause as to why Defendants should not be dismissed for Plaintiff’s failure to

prosecute. 3 Plaintiff now asks for an additional 60 day to serve Defendants. 4 Plaintiff represents

that she is “totally disabled” and “requests and accommodation” granting her an additional 60 days

to serve Defendants. 5

       Federal Rule of Civil Procedure 4(m) provides:

       If a defendant is not served within 90 days after the complaint is filed, the court -
       on motion or on its own after notice to the plaintiff - must dismiss the action without
       prejudice against that defendant or order that service be made within a specified
       time. But if the plaintiff shows good cause for the failure, the court must extend
       the time for service for an appropriate period. This subdivision does not apply to
       service in a foreign country.



       1
           Rec. Doc. 11.
       2
           Rec. Doc. 1.
       3
           Rec. Doc. 9.
       4
           Rec. Doc. 11.
       5
           Id.
      Case 2:22-cv-00220-NJB-DMD Document 12 Filed 06/23/22 Page 2 of 2




       Considering Plaintiff’s representations, the Court finds good cause exists to extend the

deadline for service. Accordingly,

       IT IS HEREBY ORDERED that Plaintiff Abryant Williams’ Motion for Extension of

Time to Serve Defendants 6 is GRANTED. The deadline for Plaintiff to effect service on all

Defendants is extended for sixty (60) days from the date of entry of this Order.

       NEW ORLEANS, LOUISIANA this 23rd                  day of June, 2022.




                                                     NANNETTE JOLIVETTE BROWN
                                                     CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT




       6
           Id.
